                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


WILLIAM FEEHAN and DERRICK VAN ORDEN,

               Plaintiffs,
       v.

 WISCONSIN ELECTIONS COMMISSION,
 and its members ANN S. JACOBS, MARK
                                                                               Case No.: 20CV1771
 L. THOMSEN, MARGE BOSTELMANN,
 JULIE M. GLANCEY, DEAN KNUDSON,
 ROBERT F. SPINDELL, JR., in their official
 capacities, GOVERNOR TONY EVERS,
 in his official capacity,

                Defendants.

                                  NOTICE OF APPEARANCE


       PLEASE TAKE NOTICE that Stephen E. Morrissey of the law firm of Susman Godfrey

LLP has been retained by defendant Governor Tony Evers in this action. Please serve copies of

all papers in this action on the undersigned at the address set forth below.

       Respectfully submitted this 7th day of December 2020.

                                              s/ Stephen E. Morrissey
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